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In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

********************** *
JULIA BALOGH,             *
                          *                          No. 12-360V
              Petitioner, *                          Special Master Christian J. Moran
                          *
v.                        *                          Filed: January 17, 2014
                          *
SECRETARY OF HEALTH       *                          Attorneys’ fees and costs; award
AND HUMAN SERVICES,       *                          in the amount to which
                          *                          respondent does not object.
              Respondent. *
********************** *

Patrick P. Randazzo, Westwood, NJ, for Petitioner;
Jennifer L. Reynaud, U.S. Department of Justice, Washington, D.C., for Respondent.

                               UNPUBLISHED DECISION1

       On January 10, 2014, petitioner filed a stipulation of fact concerning final
attorney’s fees and costs in the above-captioned matter. Previously, petitioner informally
submitted a draft application for attorneys’ fees and costs to respondent for review. Upon
review of petitioner’s application, respondent raised objections to certain items. Based
on subsequent discussions, petitioner amended his application to request $17,000.00, an
amount to which respondent does not object. The Court awards this amount.

       On June 6, 2012, Julia Balogh filed a petition for compensation alleging that the
human papillomavirus ("HPV") vaccine, which she received on March 4 and June 12,
2009, caused her to suffer polymyositis. Petitioner received compensation based upon
the parties’ stipulation. Decision, filed Oct. 28, 2013. Because petitioner received
compensation, she is entitled to an award of attorneys’ fees and costs. 42 U.S.C. §
300aa-15(e).


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          The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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       Petitioner seeks a total of $17,000.00 in attorneys’ fees and costs for her counsel.
Additionally, in compliance with General Order No. 9, petitioner states that she incurred
no out-of-pocket litigation expenses while pursuing this claim. Respondent has no
objection to the amount requested for attorneys’ fees and costs.

       After reviewing the request, the Court awards the following:

       A lump sum of $17,000.00 in the form of a check made payable to petitioner
       and petitioner’s attorney, Patrick P. Randazzo, for attorneys’ fees and other
       litigation costs available under 42 U.S.C. § 300aa-15(e).

      The Court thanks the parties for their cooperative efforts in resolving this matter.
The Clerk shall enter judgment accordingly.2

       Any questions may be directed to my law clerk, Mary Holmes, at (202) 357-6353.

       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




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          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.


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